      EXHIBIT A




Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 1 of 28
              IN THE CIRCUIT COURT OF GREEN COUNTY, MISSOURI

RACHEL HOLLOWAY,                                )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   Case No. 2031-CC00003
                                                )
ALBA FREIGHT LINES, INC.                        )
                                                )
       Defendants.                              )


                      DEFENDANT ALBA FREIGHT LINES INC’S
                      NOTICE OF FILING NOTICE OF REMOVAL

       I hereby certify that a copy of the Notice of Removal in the above-styled action has been

filed in the United States District Court of the Western District of Missouri, on this 2nd day of

October, 2020.

       A copy of the Notice of Removal is attached hereto as Exhibit 1.

                                            Respectfully submitted,

                                            /s/ James A. Jarrow
                                            James R. Jarrow           MO #38686
                                            John A. Watt              MO #52516
                                            BAKER STERCHI COWDEN & RICE, L.L.C.
                                            2400 Pershing Road, Suite 500
                                            Kansas City, MO 64108
                                            Telephone:     (816) 471-2121
                                            Facsimile:     (816) 472-0288
                                            Email:         jarrow@bscr-law.com
                                                           jwatt@bscr-law.com
                                            ATTORNEYS FOR DEFENDANT
                                            ALBA FREIGHT LINES, INC.




         Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 2 of 28
                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 2nd day of October, 2020, a true and correct

copy of the foregoing was electronically filed with the Clerk of the Court, using the Court’s

electronic filing system, which will send notification of the following to all counsel of record.



                                              /s/ James R. Jarrow




                                                 2


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                                                                                                      Electronically Filed - Greene - January 02, 2020 - 02:15 PM
                                                                                2031-CC00003

             IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                   )
    Plaintiff                                     )
                                                  )
VS.                                               )
                                                  )
ALBA FREIGHT LINES, INC.                          )
     Defendant                                    )

                                           PETITION

PLAINTIFF, by counsel, sets forth her Petition against Defendant as follows:

   1. The events giving rise to this cause of action occurred in Greene County, Missouri.

   2. Plaintiff is a natural person residing in Greene County, Missouri.

   3. Defendant is a corporation with its primary place of business at 5940 W. Touhy Ave., Ste.
      202, Niles, IL 60714.

   4. On or about October 6, 2019 at between 4:00 and 5:00 pm, Plaintiff was operating her car
      westbound on I-44 in Greene County, Missouri.

   5. At that same time and place an employee or agent of Defendant was operating a truck
      owned or operated by Defendant and bearing Defendant’s identification.

   6. At that time and place, Defendant’s employee swerved his truck into Plaintiff’s lane of
      traffic, causing the truck to strike Plaintiff’s car.

   7. As a result of the truck striking Plaintiff’s car, Plaintiff’s car was forced off the highway
      and into the traffic median.

   8. The truck striking Plaintiff’s car caused damage to Plaintiff’s car.

   9. At that time and place, Defendant’s employee was negligent in the operation of
      Defendant’s truck, in one or more of the following manners:

           a. In failing to give a proper turn signal.

           b. In changing lanes without checking to see if the lane was clear.

           c. In failing to exercise a high degree of car in operating the truck.

   10. In striking Plaintiff’s vehicle and forcing Plaintiff off the road, Defendant caused damage
       to Plaintiff in that Plaintiff was placed in immediate fear of bodily injury.

   11. Defendant’s actions caused mental and emotional distress to Plaintiff.



         Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 4 of 28
                                                                                                   Electronically Filed - Greene - January 02, 2020 - 02:15 PM
   12. Said distress was medically significant.

   13. Defendant’s driver knew or should have known that his actions were likely to cause a risk
       of harm to Plaintiff.

   14. As a result of Defendant’s actions, Plaintiff has suffered lost income and lost earning
       ability.

   15. Defendant’s actions were made with reckless indifference or evil motive.

WHEREFORE Plaintiff prays the court for judgment against Defendant for Plaintiff’s damages,
lost income, costs, punitive damages, and such other relief as is just and proper.



                                                       LAMPERT LAW OFFICE, LLC

                                                       By:/s/ Raymond Lampert___________
                                                          Raymond Lampert, #57567
                                                          2847 S. Ingram Mill Rd., Ste A-100
                                                          Springfield, MO 65804
                                                          Phone: (417) 886-3330
                                                          Fax: (417) 886-8186
                                                          ray@lampertlaw.net
                                                          Attorney for Plaintiff




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 5 of 28
              IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 2031-CC00003
 JASON R BROWN
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 RACHEL HOLLOWAY                                             RAYMOND BENJAMIN LAMPERT
                                                             2847 S INGRAM MILL RD
                                                             STE A-100
                                                       vs.   SPRINGFIELD, MO 65804
 Defendant/Respondent:                                       Court Address:
 ALBA FREIGHT LINES INC                                      JUDICIAL COURTS FACILITY
 Nature of Suit:                                             1010 N BOONVILLE AVE
 CC Pers Injury-Vehicular                                    SPRINGFIELD, MO 65802                                    (Date File Stamp)
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:     ALBA FREIGHT LINES INC
                                Alias:
  5940 W TOUHY AVE
  STE 202
  NILES, IL 60714
     COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, copy of
                                which is attached, and to serve a copy of your pleading upon the attorney for the
                                plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                                you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                                taken against you for the relief demanded in this action.
                                                01/02/2020                                       /S/ THOMAS R. BARR BY ADN
     GREENE COUNTY                                  Date                                                  Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                           ______________________________________________________
                   Printed Name of Sheriff or Server                                             Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                              See the following page for directions to officer making return on service of summons.


OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-3
                                                         1 of 2 (2031-CC00003)
                      Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20 Page 6 Rules
                                                                                of 28 54.06, 54.07, 54.14, 54.20;
                                                                                        506.500, 506.510 RSMo
                             Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-3
                                                        2 of 2 (2031-CC00003)
                     Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20 Page 7 Rules
                                                                               of 28 54.06, 54.07, 54.14, 54.20;
                                                                                       506.500, 506.510 RSMo
                                                                 Electronically Filed - Greene - February 03, 2020 - 01:30 PM




Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 8 of 28
              IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 2031-CC00003
 JASON R BROWN
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 RACHEL HOLLOWAY                                             RAYMOND BENJAMIN LAMPERT
                                                             2847 S INGRAM MILL RD
                                                             STE A-100
                                                       vs.   SPRINGFIELD, MO 65804
 Defendant/Respondent:                                       Court Address:
 ALBA FREIGHT LINES INC                                      JUDICIAL COURTS FACILITY
 Nature of Suit:                                             1010 N BOONVILLE AVE
 CC Pers Injury-Vehicular                                    SPRINGFIELD, MO 65802                                    (Date File Stamp)
                      Alias Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:     ALBA FREIGHT LINES INC
                                Alias:
  R/A MARSID XEKA
  8224 W CATINO TERR
  NILES, IL 60714
     COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, copy of
                                which is attached, and to serve a copy of your pleading upon the attorney for the
                                plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                                you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                                taken against you for the relief demanded in this action.
                                                02/03/2020                                       /S/ THOMAS R. BARR BY ADN
     GREENE COUNTY                                  Date                                                  Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                           ______________________________________________________
                   Printed Name of Sheriff or Server                                             Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                              See the following page for directions to officer making return on service of summons.


OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-29
                                                         1 of 2 (2031-CC00003)
                      Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20 Page 9 Rules
                                                                                of 28 54.06, 54.07, 54.14, 54.20;
                                                                                        506.500, 506.510 RSMo
                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-29
                                                         2 of 2 (2031-CC00003)
                     Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20 Page 10Rules
                                                                                of 2854.06, 54.07, 54.14, 54.20;
                                                                                       506.500, 506.510 RSMo
                                                                                                Electronically Filed - Greene - February 03, 2020 - 01:30 PM
             IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                )
    Plaintiff                                  )
                                               )
VS.                                            )   Case No. 2031-CC00003
                                               )
ALBA FREIGHT LINES, INC.                       )
     Defendant                                 )

                            REQUEST FOR ALIAS SUMMONS

PLAINTIFF, by counsel, hereby requests the Clerk to issue an alias summons in this matter for
service on Defendant’s Registered Agent as follows:

Alba Freight Lines, Inc.
Reg. Agt. Marsid Xeka
8224 W. Catino Terr.
Niles, IL 60714


                                                      LAMPERT LAW OFFICE, LLC

                                                      By:/s/ Raymond Lampert___________
                                                         Raymond Lampert, #57567
                                                         2847 S. Ingram Mill Rd., Ste A-100
                                                         Springfield, MO 65804
                                                         Phone: (417) 886-3330
                                                         Fax: (417) 886-8186
                                                         ray@lampertlaw.net
                                                         Attorney for Plaintiff




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 11 of 28
                                                                  Electronically Filed - Greene - March 09, 2020 - 01:56 PM




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                                                                  Electronically Filed - Greene - March 09, 2020 - 01:56 PM




Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 13 of 28
                                                                                                        Electronically Filed - Greene - March 23, 2020 - 11:25 AM
              IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                   )
    Plaintiff                                     )
                                                  )
VS.                                               )   Case No. 2031-CC00003
                                                  )
ALBA FREIGHT LINES, INC.                          )
     Defendant                                    )


                MOTION FOR INTERLOCUTORY ORDER OF DEFAULT
PLAINTIFF, by counsel, moves the Court pursuant to Rule 74.05(b) for an interlocutory order of
default and requests that that this matter be set for a hearing for a default judgment. In support of
this Motion, Plaintiff states as follows:
Plaintiff attempted service on Defendant at its US DOT listed address at 5940 W. Touhy Ave., Ste.
202, Niles, IL 60714 on January 21, 2020. The service was non-est because the unit was vacant.
A copy of the information from the US DOT is attached hereto as Exhibit 1.
Plaintiff then attempted service on Defendant via its Registered Agent at 8224 W. Catino Terr.,
Niles, IL 60714 on February 25, 2020. The service was non-est because the office had moved. A
copy of the information from the Illinois Secretary of State is attached hereto as Exhibit 2.
WHEREFORE Plaintiff moves the Court to find that Defendant has defaulted, to enter an
interlocutory order of default, and set this matter for a hearing on damages, and for such other
relief as is just and proper.




                                                          LAMPERT LAW OFFICE, LLC

                                                          By:/s/ Raymond Lampert___________
                                                             Raymond Lampert, #57567
                                                             2847 S. Ingram Mill Rd., Ste A-100
                                                             Springfield, MO 65804
                                                             Phone: (417) 886-3330
                                                             Fax: (417) 886-8186
                                                             ray@lampertlaw.net
                                                             Attorney for Plaintiff




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 14 of 28
                                                                                          Electronically Filed - Greene - April 01, 2020 - 11:31 AM
            IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                            )
    Plaintiff                              )
                                           )
VS.                                        )   Case No. 2031-CC00003
                                           )
ALBA FREIGHT LINES, INC.                   )
     Defendant                             )


                               NOTICE OF HEARING
PLEASE TAKE NOTICE that Plaintiff will take up her Motion for an Interlocutory Order of
Default on Tuesday, April 7 at 9:00 am via telephone.




                                                  LAMPERT LAW OFFICE, LLC

                                                  By:/s/ Raymond Lampert___________
                                                     Raymond Lampert, #57567
                                                     2847 S. Ingram Mill Rd., Ste A-100
                                                     Springfield, MO 65804
                                                     Phone: (417) 886-3330
                                                     Fax: (417) 886-8186
                                                     ray@lampertlaw.net
                                                     Attorney for Plaintiff




       Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 15 of 28
              IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 2031-CC00003
 JASON R BROWN
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 RACHEL HOLLOWAY                                             RAYMOND BENJAMIN LAMPERT
                                                             2847 S INGRAM MILL RD
                                                             STE A-100
                                                       vs.   SPRINGFIELD, MO 65804
 Defendant/Respondent:                                       Court Address:
 ALBA FREIGHT LINES INC                                      JUDICIAL COURTS FACILITY
 Nature of Suit:                                             1010 N BOONVILLE AVE
 CC Pers Injury-Vehicular                                    SPRINGFIELD, MO 65802                                       (Date File Stamp)
                      Alias Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:     ALBA FREIGHT LINES INC
                                Alias:
  5940 W TOUHY AVE STE 202
  NILES, IL 60714

     COURT SEAL OF              You are summoned to appear before this court and to file your pleading to the petition, copy of
                                which is attached, and to serve a copy of your pleading upon the attorney for the
                                plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                                you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                                taken against you for the relief demanded in this action.
                                                04/07/2020                                    /S/ THOMAS R. BARR BY CR
     GREENE COUNTY                                  Date                                                  Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                           ______________________________________________________
                   Printed Name of Sheriff or Server                                             Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            __________________________________________________________
                                                                                                Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
                              See the following page for directions to officer making return on service of summons.



OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-145
                                                         1 of 2 (2031-CC00003)
                     Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20 Page 16Rules
                                                                                of 2854.06, 54.07, 54.14, 54.20;
                                                                                       506.500, 506.510 RSMo
                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 20-SMOS-145
                                                        2 of 2 (2031-CC00003)
                    Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20 Page 17Rules
                                                                               of 2854.06, 54.07, 54.14, 54.20;
                                                                                      506.500, 506.510 RSMo
                                                                                                Electronically Filed - Greene - April 07, 2020 - 10:30 AM
             IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                )
    Plaintiff                                  )
                                               )
VS.                                            )   Case No. 2031-CC00003
                                               )
ALBA FREIGHT LINES, INC.                       )
     Defendant                                 )

                            REQUEST FOR ALIAS SUMMONS

PLAINTIFF, by counsel, hereby requests the Clerk to issue an alias summons in this matter for
service on Defendant as follows:

Alba Freight Lines, Inc.
5940 W. Touhy Ave.
Suite 202
Niles, IL 60714


                                                      LAMPERT LAW OFFICE, LLC

                                                      By:/s/ Raymond Lampert___________
                                                         Raymond Lampert, #57567
                                                         2847 S. Ingram Mill Rd., Ste A-100
                                                         Springfield, MO 65804
                                                         Phone: (417) 886-3330
                                                         Fax: (417) 886-8186
                                                         ray@lampertlaw.net
                                                         Attorney for Plaintiff




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 18 of 28
             IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

Judge or Division:                                              Case Number: 2031-CC00003
JASON R BROWN
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
RACHEL HOLLOWAY                                                 RAYMOND BENJAMIN LAMPERT
                                                                2847 S INGRAM MILL RD
                                                                STE A-100
                                                          vs.   SPRINGFIELD, MO 65804
Defendant/Respondent:                                           Court Address:
ALBA FREIGHT LINES INC                                          JUDICIAL COURTS FACILITY
Nature of Suit:                                                 1010 N BOONVILLE AVE
CC Pers Injury-Vehicular                                        SPRINGFIELD, MO 65802                                       (Date File Stamp)

                                                Alias Summons in Civil Case
  The State of Missouri to: ALBA FREIGHT LINES INC
                            Alias:
 ATTY JAMES JARROW
 BAKER STERCHI COWDEN & RICE
 2400 PERSHING RD STE 500
 KANSAS CITY, MO 64108
      COURT SEAL OF        You          are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                                  07/15/2020                                 /S/ THOMAS R. BARR BY CR
      GREENE COUNTY
                                                      Date                                                Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                 ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-1470
                                                           1 of 1           Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                       Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20      Page 19 of 28
                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                Electronically Filed - Greene - July 10, 2020 - 03:37 PM
             IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                )
    Plaintiff                                  )
                                               )
VS.                                            )   Case No. 2031-CC00003
                                               )
ALBA FREIGHT LINES, INC.                       )
     Defendant                                 )

                            REQUEST FOR ALIAS SUMMONS

PLAINTIFF, by counsel, hereby requests the Clerk to issue an alias summons in this matter for
service on Defendant’s attorney:

Alba Freight Lines, Inc.
Atty. James Jarrow
Baker, Sterchi, Cowden & Rice LLC
2400 Pershing Rd., Ste. 500
Kansas City, MO 64108


                                                      LAMPERT LAW OFFICE, LLC

                                                      By:/s/ Raymond Lampert___________
                                                         Raymond Lampert, #57567
                                                         2847 S. Ingram Mill Rd., Ste A-100
                                                         Springfield, MO 65804
                                                         Phone: (417) 886-3330
                                                         Fax: (417) 886-8186
                                                         ray@lampertlaw.net
                                                         Attorney for Plaintiff




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 20 of 28
                                                                                                        Electronically Filed - Greene - August 17, 2020 - 10:32 AM
              IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                   )
    Plaintiff                                     )
                                                  )
VS.                                               )   Case No. 2031-CC00003
                                                  )
ALBA FREIGHT LINES, INC.                          )
     Defendant                                    )


         AMENDED MOTION FOR INTERLOCUTORY ORDER OF DEFAULT
PLAINTIFF, by counsel, moves the Court pursuant to Rule 74.05(b) for an interlocutory order of
default and requests that that this matter be set for a hearing for a default judgment. In support of
this Motion, Plaintiff states as follows:
Plaintiff attempted service on Defendant at its US DOT listed address at 5940 W. Touhy Ave., Ste.
202, Niles, IL 60714 on January 21, 2020. The service was non-est because the unit was vacant.
A copy of the information from the US DOT is attached hereto as Exhibit 1.
Plaintiff then attempted service on Defendant via its Registered Agent at 8224 W. Catino Terr.,
Niles, IL 60714 on February 25, 2020. The service was non-est because the office had moved. A
copy of the information from the Illinois Secretary of State is attached hereto as Exhibit 2.
Plaintiff then attempted to contact Defendant via Certified Mail at its listed address. The envelope
was returned as undeliverable and unable to forward. A copy of the envelope is attached hereto as
Exhibit 3.
Plaintiff has filed an Affidavit of Service with the Illinois Secretary of State affirming that
Defendant’s Registered Agent could not be found with reasonable diligence at the registered office
of record. A copy of the envelope is attached hereto as Exhibit 4.
Plaintiff also forwarded copies of the Summons and Petition with a request for waiver of service
to Defendant’s attorney James Jarrow on July 15, 2020. A copy of the waiver is attached hereto as
Exhibit 5.
WHEREFORE Plaintiff moves the Court to find that Defendant has defaulted, to enter an
interlocutory order of default, and set this matter for a hearing on damages, and for such other
relief as is just and proper.




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 21 of 28
                                                                                                    Electronically Filed - Greene - August 17, 2020 - 10:32 AM
                                                       LAMPERT LAW OFFICE, LLC

                                                       By:/s/ Raymond Lampert___________
                                                          Raymond Lampert, #57567
                                                          2847 S. Ingram Mill Rd., Ste A-100
                                                          Springfield, MO 65804
                                                          Phone: (417) 886-3330
                                                          Fax: (417) 886-8186
                                                          ray@lampertlaw.net
                                                          Attorney for Plaintiff


                                CERTIFICATE OF SERVICE
The undersigned certifies that copies of this Motion were served via US Mail on Defendant’s agent
and attorney on this 17th day of August, 2020.
Served on:
Superior Risk Management, Inc.
Attn. Tammy Warn
6602 Owens Dr., Ste. 300
Pleasanton, CA 94588


Baker, Sterchi, Cowden & Rice
Atty. James Jarrow
2400 Pershing Rd., Ste. 500
Kansas City, MO 64108




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 22 of 28
                                                                                                     Electronically Filed - Greene - August 21, 2020 - 12:02 PM
                IN THE CIRCUIT COURT OF GREEN COUNTY, MISSOURI

RACHEL HOLLOWAY,                                    )
                                                    )
        Plaintiff,                                  )
                                                    )
v.                                                  )     Case No. 2031-cc00003
                                                    )
ALBA FREIGHT LINES, INC.                            )
                                                    )
        Defendants.                                 )

     DEFENDANT ALBA FREIGHT LINES, INC.’S MEMORANDUM IN OPPOSITION
          TO PLAINTIFF’S AMENDED MOTION FOR INTERLOCUATORY
                           ORDER OF DEFAULT


        Defendant, Alba Freight Lines, Inc., (“Defendant” or “Alba”) by and through the

undersigned counsel and pursuant to Mo.R.Civ. 74.(b) and in Opposition to the Plaintiff’s

Amended Motion for Interlocuatory Order of Default filed on or about August 17, 2020 states as

follows:

        1.      This lawsuit was filed on or about January 2, 2020.

        2.      Defendant does not dispute that plaintiff mailed certain documents in the State of

     Illinois in an attempt to gain service of process.

        3.      However, the Illinois Secretary of State has not affirmed or approved any default

     at this time nor accepted any application made by the Plaintiff.

        4.      Missouri Rule of Civil Procedure 54.14 requires that personal service out of state

     be accomplished by complying with Rule 54.13(b) which requires service on a corporation’s

     authorized agent.

        5.      Defendant is not in default because Defendant has never been served with process

     pursuant to Missouri law.




                                                   1

           Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 23 of 28
                                                                                                     Electronically Filed - Greene - August 21, 2020 - 12:02 PM
       6.      Defendant will be represented in this matter by the undersigned and the undersigned

   is prepared to accept service and file responsive pleadings in the matter pursuant to the

   Missouri Rules of Civil Procedure.

       WHEREFORE, Defendant Alba Freight Lines, Inc., respectfully requests this court to not

   find the Defendant in default of the Missouri Rules of Civil Procedure, allow counsel for

   Defendant to accept service, file responsive pleadings and proceed with the litigation and for

   such other and further relief as the court deems just and proper in the circumstances.

                                              Respectfully submitted,

                                               /s/ John A. Watt
                                              James R. Jarrow               MO# 38686
                                              John A. Watt                  MO# 52516
                                              BAKER STERCHI COWDEN & RICE LLC
                                              2400 Pershing Road, Suite 500
                                              Kansas City, MO 64108
                                              Tel: (816) 471-2121
                                              Fax: (816) 472-0288
                                              Email: jarrow@bscr-law.com
                                                      watt@bscr-law.com
                                              ATTORNEYS FOR DEFENDANT
                                              ALBA FREIGHT LINES, INC.




                                 CERTIFICATE OF SERVICE

       The foregoing was filed this 21st day of August, 2020 using the Court’s electronic filing

system, which will send a notification of filing to counsel of record.


                                                      /s/ John A. Watt




                                                 2

        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 24 of 28
                                                                                                Electronically Filed - Greene - August 27, 2020 - 11:49 AM
             IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                )
    Plaintiff                                  )
                                               )
VS.                                            )   Case No. 2031-CC00003
                                               )
ALBA FREIGHT LINES, INC.                       )
     Defendant                                 )

                            REQUEST FOR ALIAS SUMMONS

PLAINTIFF, by counsel, hereby requests the Clerk to issue an alias summons in this matter for
service on Defendant’s attorney:

Alba Freight Lines, Inc.
Atty. John Watt
Baker, Sterchi, Cowden & Rice LLC
2400 Pershing Rd., Ste. 500
Kansas City, MO 64108


                                                      LAMPERT LAW OFFICE, LLC

                                                      By:/s/ Raymond Lampert___________
                                                         Raymond Lampert, #57567
                                                         2847 S. Ingram Mill Rd., Ste A-100
                                                         Springfield, MO 65804
                                                         Phone: (417) 886-3330
                                                         Fax: (417) 886-8186
                                                         ray@lampertlaw.net
                                                         Attorney for Plaintiff




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 25 of 28
             IN THE 31ST JUDICIAL CIRCUIT, GREENE COUNTY, MISSOURI

Judge or Division:                                              Case Number: 2031-CC00003
JASON R BROWN
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
RACHEL HOLLOWAY                                                 RAYMOND BENJAMIN LAMPERT
                                                                2847 S INGRAM MILL RD
                                                                STE A-100
                                                          vs.   SPRINGFIELD, MO 65804
Defendant/Respondent:                                           Court Address:
ALBA FREIGHT LINES INC                                          JUDICIAL COURTS FACILITY
Nature of Suit:                                                 1010 N BOONVILLE AVE
CC Pers Injury-Vehicular                                        SPRINGFIELD, MO 65802
                                                                                                                            (Date File Stamp)

                                                Alias Summons in Civil Case
  The State of Missouri to: ALBA FREIGHT LINES INC
                            Alias:
 ATTY: JOHN WATT
 BAKER STERCHI COWDEN & RICE
 2400 PERSHING RD STE 500
 KANSAS CITY, MO 64108
      COURT SEAL OF        You          are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                                  08/31/2020                                 /S/ THOMAS R. BARR BY CR
      GREENE COUNTY
                                                      Date                                                 Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                 ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-1908
                                                           1 of 1           Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                       Case 6:20-cv-03309-RK Document 1-1 Filed  10/02/20      Page 26 of 28
                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                  Electronically Filed - Greene - September 21, 2020 - 11:27 AM




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                                                                                                     Electronically Filed - Greene - September 22, 2020 - 12:07 PM
             IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI

RACHEL HOLLOWAY                                  )
    Plaintiff                                    )
                                                 )
VS.                                              )   Case No. 2031-CC00003
                                                 )
ALBA FREIGHT LINES, INC.                         )
     Defendant                                   )

                     MOTION FOR PAYMENT OF SERVICE COSTS

PLAINTIFF, by counsel, moves the Court pursuant to Rule 54.16 of the Missouri Rules of Civil
Procedure to order Defendant to pay the costs of service of process in this matter.

On April 8, 2020 counsel for Plaintiff mailed to Defendant at Defendant’s last known address a
request for waiver of formal service under Rule 56.14. A true and accurate copy of the waiver is
attached hereto. Defendant did not sign and return the waiver.

On July 15, 2020 counsel for Plaintiff mailed to Defendant’s counsel of record another request for
a waiver of formal service under Rule 56.14. A true and accurate copy of the waiver is attached
hereto. Defendant did not sign and return the waiver.

On September 4, 2020 Defendant’s counsel accepted service of process on behalf of Defendant
from the Jackson County Department of Civil Process. Plaintiff’s counsel incurred $36.00 in fees
to achieve personal service on Defendant’s agent.

Rule 54.16 requires the Court to order Defendant to pay the cost of personal service if Defendant
has refused to waive personal service unless good cause is shown for not doing so.

WHEREFORE Plaintiff moves the Court to order Defendant to pay Plaintiff’s counsel the $36 in
costs for service of processs.

                                                        LAMPERT LAW OFFICE, LLC

                                                        By:/s/ Raymond Lampert___________
                                                           Raymond Lampert, #57567
                                                           2847 S. Ingram Mill Rd., Ste A-100
                                                           Springfield, MO 65804
                                                           Phone: (417) 886-3330
                                                           Fax: (417) 886-8186
                                                           ray@lampertlaw.net
                                                           Attorney for Plaintiff




        Case 6:20-cv-03309-RK Document 1-1 Filed 10/02/20 Page 28 of 28
